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 8
 9                                   UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                        Cr. No. S-10-347
13                      Plaintiff,                  STIPULATION CONTINUING
                                                    SENTENCING
14          v.
                                                    Sept 3, 2015 at 9 AM before Judge England
15   IMESH PERERA, et al
16
                        Defendants.
17
18
19          Imesh Perera by his attorney J Toney and the U.S. Attorney’s Office by Assistant U.S.

20   Attorney Jill Thomas stipulate that the presently set sentencing date in this case of June 11, 2015

21   be continued to September 3, 2015. This stipulation is at the request of the Defendant and his

22   Attorney and is due to scheduling difficulties and the Defendant’s continued employment.

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     Case 2:10-cr-00347-DAD-JDP Document 476 Filed 06/04/15 Page 2 of 2


 1   Probation Officer Shannon Morehouse has been advised of this request and has no objection to it.
 2   The parties respectfully request the Court so order.
 3   Dated May 31, 2015
 4    /s/ Jill Thomas                                          /s/_J Toney
 5     JILL THOMAS                                             J TONEY
 6    Assistant U.S.Attorney                                  Attorney for Defendant
 7
 8          IT IS SO ORDERED.
 9   Dated: June 3, 2015
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